USCA4 Appeal: 23-1537          Doc: 67          Filed: 01/25/2024      Pg: 1 of 1
                          FOURTH CIRCUIT ORAL ARGUMENT ACKNOWLEDGMENT

  This Oral Argument Acknowledgment form is to be completed and filed by arguing counsel within 7 days of
  the Oral Argument Notification. In criminal cases, counsel appearing for a defendant but not arguing must also
  file this form.
  Case Number: 23-1537                                Date of Oral Argument: 03/21/2024
  Caption: CSX Transportation, Inc. v. Norfolk Southern Railway Co.
  Attorney Arguing: Shay Dvoretzky (Norfolk Southern), W. Ryan Snow (NPBL)
  Arguing on Behalf of (party name):
   Norfolk Southern Railway Co. and Norfolk & Portsmouth Belt Line Railroad Co.
  Select party type:
     Appellant      Appellee       Appellant/Cross-Appellee    Appellee/Cross-Appellant     Amicus         Intervenor

  Attorney Appearing for Defendant but Not Arguing in Consolidated Criminal Case:

  Argument Time: Please indicate how much argument time you wish to use. You may thereafter change your
  requested time or change counsel arguing by filing a new Oral argument acknowledgment form and selecting
  “Amended” within the entry. Counsel arguing the case must be admitted to the Fourth Circuit, file an
  appearance of counsel form, and file this acknowledgment form.
     K)' @=AGF9E B: 5D;G@9AF F=@9 5D9 5??BFF98 C9D E=89. 5?? C5DF=9E FB 5 E=89 @GEF E<5D9 BD5? 5D;G@9AF F=@9
     K(+ D5F<9D F<5A )' @=AGF9E 5D9 5??BFF98 =A EB7=5? E97GD=FJ% 6?57> ?GA; " ?56BD 75E9E =A I<=7< CD=@5DJ =EEue
        is whether substantial evidence supports agency decision, and in criminal cases in which primary issue is
        5CC?=75F=BA B: E9AF9A7=A; ;G=89?=A9E. *' @=AGF9E 5D9 5??BFF98 =A 9A 65A7 75E9E
     K/CC9??5AFE 5A8 7DBEE-5CC9??5AFE @5J D9E9DH9 GC FB (&* B: F<9=D F=me for rebuttal (7 out of 20 minutes)

  First Attorney Arguing Per Side: Shay Dvoretzky (Norfolk Southern)
  Phone Number (day of argument): 202-371-7370

  Principal Argument Time:       15                               Rebuttal Argument Time (if any):
  (for appellants and appellees)                                  (appellants and cross-appellants only)

  Any Second Attorney Sharing Arguing Time: W. Ryan Snow (NPBL)
  Phone Number (day of argument): 757-802-9075

  Principal Argument Time:          5                              Rebuttal Argument Time (if any):
  (for appellants and appellees)                                  (appellants and cross-appellants only)

  Any Counsel for Amicus Participating in Argument by Leave of Court:

  Phone Number (day of argument):

  Argument Time:                                Select one of the following:    Order allowing argument time
                                                                                Court-Appointed Amicus


  Signature: /s/ Shay Dvoretzky                                Date: 1/25/2024




  03/08/2022 SCC
